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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION

HUMBERTO GUTIERREZ and
GLORIA E. DIAZ,

                  Plaintiffs,
v.                                         Case No: 6:22-cv-816-PGB-LHP

GEMILANG SOLUTIONS, LLC,
HAYDE RODRIGUEZ and JUAN
RODRIGUEZ,

                  Defendants.


                        ORDER OF REFERENCE
      This case is hereby referred to the Magistrate Judge for case management,

ruling on all non-dispositive motions, and the issuance of Report and

Recommendations on dispositive motions.

      DONE and ORDERED in Orlando, Florida on this 2nd day of May 2022.




Copies furnished to:
Counsel of Record




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